       Case 8-18-70583-reg            Doc 13       Filed 02/08/18   Entered 02/08/18 12:01:17




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re:                                                                  Chapter 7

        SAUREL PHILITAS,                                                Case No. 18-70583 (REG)

                                    Debtor.
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           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

        1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the
attorney for the above named debtor and that compensation paid to me within one year before the
filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be
rendered on behalf of the debtor in contemplation of or in connection with the bankruptcy case is
as follows:

For legal services, I have agreed to accept $2,500.00

Prior to the filing of this statement I have received $2,500.00.

Balance Due $0.00

        2. The source of the compensation paid to me was: The Debtor

        3. The source of compensation to be paid to me is: To the extent applicable, the Debtor.

        4. I have not agreed to share the above-disclosed compensation with any other person
unless they are members and associates of my law firm.

       5. In return for the above-disclosed fee, I have agreed to render legal service for all
aspects of the bankruptcy case, including:

       a. Analysis of the debtor' s financial situation, and rendering advice to the debtor in
determining whether to file a petition in bankruptcy;

      b. Preparation and filing of any petition, schedules, statements of affairs and plan which
may be required;

       c. Representation of the debtor at one meeting of creditors and one uncontested discharge
hearing.
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6. By agreement with the debtor, the above-disclosed fee does not include services outside of the
scope of services in section 5 above.

                                       CERTIFICATION



   I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceeding.

Dated: New York, New York
       February 8, 2018                     /s/ David Wolnerman
                                            David Wolnerman
